Case 1:20-cv-02217-CMA-NYW Document 21 Filed 04/05/21 USDC Colorado Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:20-cv-02217-CMA-NYW

  DAVID KATT, on behalf of himself and all others similarly situated,

  Plaintiff,

  v.

  BFW DENVER LLC,

  Defendant.



                      STIPULATION FOR DISMISSAL WITH PREJUDICE
                         PURSUANT TO FED. R. CIV. P 41(a)(1)(A)(ii)


          The parties, by and through their respective attorneys, Ari H. Marcus on behalf of

  Plaintiff David Katt; and Sandra J. Carter and Scott D. McLeod on behalf of Defendant BFW

  Denver LLC, hereby stipulate and agree pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) to a dismissal

  with prejudice, with each party to bear its own costs and attorneys’ fees. By the filing of this

  Stipulation the above-captioned civil action is deemed resolved and the case shall be closed.
Case 1:20-cv-02217-CMA-NYW Document 21 Filed 04/05/21 USDC Colorado Page 2 of 3




        Respectfully submitted this 5th day of April 2021.


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Case 1:20-cv-02217-CMA-NYW Document 21 Filed 04/05/21 USDC Colorado Page 3 of 3




                                     CERTIFICATE OF SERVICE

          I hereby certify that on this 5th day of April 2021, I electronically filed the foregoing
 STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO FED. R. CIV. P
 41(a)(1)(A)(ii) with the Clerk of Court using the CM/ECF system which will send electronic notification of
 such filing to the following:


 Sandra J. Carter
 scarter@nbbmlaw.com

 Scott D. McLeod
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                                                             /s/ Ari Hillel Marcus




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